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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                               Eastern Division

Abbott Laboratories
                                             Plaintiff,
v.                                                           Case No.: 1:19−cv−06587
                                                             Honorable Sara L. Ellis
Grifols Diagnostic Solutions Inc., et al.
                                             Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, August 28, 2024:


        MINUTE entry before the Honorable Sara L. Ellis: Telephonic motion hearing
held on 8/28/2024. Motions [256], [261], [262] are withdrawn. Motion to seal document
[275] is granted. Joint motion to extend time to respond to Daubert motions [277] is
granted. The parties should send joint letter with revised briefing schedule to Courtroom
Deputy by 8/30/2024. Mailed notice(rj, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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